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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 RAW STORY MEDIA, INC., ALTERNET
 MEDIA, INC.,

       Plaintiffs,
                                                          No. 1:24-cv-01514-SHS
       v.

 OPENAI, INC., OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, and OPENAI
 HOLDINGS, LLC,

       Defendants.


                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE THAT upon the annexed Memorandum of Law, the

Declaration of Stephen Stich Match, and the exhibits thereto, the undersigned hereby moves this

Court on behalf of Plaintiffs Raw Story Media, Inc., and AlterNet Media, Inc. for an order granting

reconsideration of the orders granting Defendants’ motion to dismiss and denying Plaintiffs leave

to amend their complaint, ECF Nos. 117, 137, and permitting Plaintiffs to file an amended

complaint within seven days of the Court’s order granting this motion.
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                                    RESPECTFULLY SUBMITTED,

                                    /s/ Stephen Stich Match

                                    Jon Loevy (pro hac vice)
                                    Michael Kanovitz (pro hac vice)
                                    Matthew Topic (pro hac vice)
                                    Stephen Stich Match (No. 5567854)
                                    Thomas Kayes (pro hac vice)
                                    Steven Art (pro hac vice)
                                    Kyle Wallenberg (pro hac vice)


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                                    April 18, 2025




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